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                 United States Court of Appeals
                            For the Eighth Circuit
                        ___________________________

                                No. 16-1523
                        ___________________________

                                  Patrick Ryan Bray

                        lllllllllllllllllllll Plaintiff - Appellant

                                            v.

                                   Bank of America

                       lllllllllllllllllllll Defendant - Appellee
                                      ____________

                    Appeal from United States District Court
                  for the Eastern District of Missouri - St. Louis
                                  ____________

                            Submitted: October 25, 2016
                              Filed: October 26, 2016
                                  [Unpublished]
                                  ____________

Before WOLLMAN, LOKEN, and BENTON, Circuit Judges.
                         ____________

PER CURIAM.

      Patrick Bray appeals the district court’s1 order dismissing his claim under 12
U.S.C. § 1972, the Bank Holding Company Act. Having jurisdiction under 18 U.S.C.
§ 1291, this court affirms.


      1
        The Honorable Carol E. Jackson, United States District Judge for the Eastern
District of Missouri.


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        Bray asserted violations of anti-tying provisions of the BHCA, which the
district court properly dismissed for lack of standing because Bray failed to allege
sufficiently that his injury was caused by a violation of the Act. See Lexmark Int’l,
Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1386-90 (2014) (to
determine standing, court first determines whether plaintiff has established
requirements of constitutional standing; and if so then examines whether statutory
standing exists by determining if plaintiff’s allegations establish that his interests were
within the zone of interests protected by the law invoked, and that his injuries were
proximately caused by violations of the statute); Lujan v. Defenders of Wildlife, 504
U.S. 555, 560-61 (1992) (to establish Article III standing, plaintiff must allege, inter
alia, that injury is causally connected to defendant’s allegedly illegal conduct and not
to independent action of some third party not before court); Wieland v. U.S. Dep’t
Health & Human Servs., 793 F.3d 949, 953-54 (8th Cir. 2015) (appellate court
reviews district court’s dismissal for lack of standing de novo, accepting as true all
factual allegations in complaint and drawing reasonable inferences in favor of
nonmoving party; standing exists only if plaintiff suffered injury as result of
defendant’s putatively illegal conduct).

      The judgment is affirmed. See 8th Cir. R. 47B.
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                              United States Court of Appeals
                                       For The Eighth Circuit
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Michael E. Gans
                                                                                  FAX (314) 244-2780
 Clerk of Court
                                                                                www.ca8.uscourts.gov

                                                             October 26, 2016


Mr. Patrick Ryan Bray
4007 Riverview Boulevard
Bradenton, FL 34209

         RE: 16-1523 Patrick Bray v. Bank of America

Dear Mr. Bray:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion. The opinion will be released to the public at 10:00 a.m. today. Please hold the
opinion in confidence until that time.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. No grace period
for mailing is allowed, and the date of the postmark is irrelevant for pro-se-filed petitions. Any
petition for rehearing or petition for rehearing en banc which is not received within the 14 day
period for filing permitted by FRAP 40 may be denied as untimely.

                                                             Michael E. Gans
                                                             Clerk of Court

LMT

Enclosure(s)

cc:      Mr. Mahlon H. Barlow
         Ms. Lauren Fuiman Cell
         Mr. Michael A. Clithero
         Ms. Janelle E. Fulton
         Mr. Christopher S. Koller
         Mr. Gregory J. Linhares

            District Court/Agency Case Number(s): 4:14-cv-01336-CEJ




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